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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 Cargill, Incorporated,

                   Movant,                          Case No. 1:23-mc-00134-RA

        vs.                                         NOTICE OF APPEARANCE

 Public Joint Stock Company National Bank
 Trust,
                   Respondent.

       PLEASE TAKE NOTICE that Evan Glassman, of the law firm Steptoe & Johnson LLP,

hereby enters an appearance as counsel of record for Respondent Public Joint Stock Company

National Bank Trust (“NBT”) in the above-referenced matter.


Dated: New York, New York
       May 4, 2023

                                                         Steptoe & Johnson LLP

                                                         By: /s/ Evan Glassman
                                                         Evan Glassman
                                                         1114 Avenue of the Americas
                                                         New York, New York 10036
                                                         Tel: (212) 506-3909
                                                         Fax: (212 506-3950
                                                         eglassman@steptoe.com

                                                         Counsel for Public Joint Stock
                                                         Company National Bank Trust
